Case 1:15-cv-05345-AJN-KHP Document 143-11 Filed 05/12/16 Page 1 of 8




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  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
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                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                2 of28of 8
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  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                3 of38of 8
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                4 of48of 8
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                5 of58of 8
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                6 of68of 8
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  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                7 of78of 8
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-4
                                     143-11
                                          Filed
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                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                8 of88of 8
